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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                             )
WALSH CONSTRUCTION COMPANY, )
      Plaintiff,             )
                             )
v.                           )                        Case No. 20-CV-11469-LTS
                             )
LEXINGTON INSURANCE COMPANY, )
RSUI INDEMNITY COMPANY and   )
DEMTECH, LLC,                )
      Defendants.            )
                             )

                             STIPULATION OF DISMISSAL

       NOW COMES all parties appearing in the above-captioned action, and pursuant to

Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), stipulate to the dismissal with prejudice of all claims

and counterclaims, all rights of appeal being waived, and each party to bear their respective

attorneys’ fees and costs.



WALSH CONSTRUCTION COMPANY                     LEXINGTON INSURANCE COMPANY
By its attorneys,                              By its attorneys,


        /s/ Steven Shane Smith                         /s/ Robert D. Laurie
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(617) 479-1313


 Date: February 17, 2021
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                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that I served a true copy of the above document
upon the following parties by electronically filing through this Court’s CM/ECF filing
system, this 17th day of February, 2021:

Robert D. Laurie, Esq.
Gfeller Laurie LLP
977 Farmington Avenue, Suite 200
West Hartford, CT 06107


                                                   /s/ Steven Shane Smith
                                            Francis A. Shannon, III, Esq.
                                            Steven Shane Smith, Esq.
8306:017:stipulation dismissal




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